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 UNITED STATES DISTRICT COURT
 FOR THE STATE OF NEW JERSEY
 SIWELL, INC. D/B/A CAPITAL MORTGAGE
 SERVICES OF TEXAS
                                                    Case No. 2:21-cv-13852
                     Plaintiff,

       -against-

 ALEXEI VOLOSEVICH, TAMMY SEWELL, JOSEPH
 JAMES REAL ESTATE, FOUNDATION REAL
 ESTATE AND CLEAR SKIES TITLE AGENCY LLC,

                   Defendants.


  BRIEF IN SUPPORT OF THE MOTION OF HASBANI & LIGHT, P.C., DANIELLE P.
           LIGHT, ESQ, TO WITHDRAW AS COUNSEL FOR PLAINTIFF
                  SIWELL, INC. D/B/A CAPITAL MORTGAGE
                            SERVICES OF TEXAS


                                          HASBANI & LIGHT, P.C.

                                            /s/ Danielle Light
                                          ________________________
                                          Danielle P. Light, Esq.
                                          Counsel for Plaintiff Siwell, Inc., d/b/a
                                          Capital Mortgage Services of Texas
                                          450 Seventh Avenue, Ste 1408
                                          New York, New York 10123
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                                         INTRODUCTION

        Hasbani & Light, P.C., Danielle Light, Esq, ("Movants") move this Court to withdraw

 them as counsel for Plaintiff Siwell, Inc., d/b/a Capital Mortgage Services of Texas

 ("Plaintiff'). For the reasons set forth below, movants respectfully request the Court grant

 their motion.

                                    LEGAL ARGUMENT

        "The Rules of Professional Conduct of the American Bar Association as revised by

 the New Jersey Supreme Court shall govern the conduct of the members of the bar admitted

 to practice in this Court, subject to such modifications as may be required or permitted by

 Federal statute, regulation, court rule or decision of law." L. Civ. R. 103.1. New Jersey Rule

 of Professional Conduct 1.16, which governs withdrawal of lawyers from representation of

 clients, provides:

                      (b)   Except as stated in paragraph (c), a lawyer may withdraw
                      from representing a client if:

                            (1)    Withdrawal can be accomplished without material
                                   adverse effect on the interests of the client;
                            (6)   the representation will result in an unreasonable
                                  financial burden on the lawyer ...; or

                            (7)   other good cause for withdrawal exists.


        Movants have been unable to reach Plaintiff despite having made multiple attempts to

 contact Plaintiff via email and by telephone. This breakdown in communication has prevented

 the Movants from being able to effectively represent the Plaintiff in this action. Additionally,


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 Movants withdrawal as counsel for Plaintiff can be accomplished without material adverse

 effect on his interests. Plaintiff’s case has not been set for trial, and significant discovery

 remains outstanding. This case is in its beginning phases, and no trial is imminent. As

 such, Plaintiff has time to find a new lawyer, and a new lawyer could easily take this case

 over without any delay to get up to speed. Plaintiff will not be prejudiced by the withdrawal,

 and Movants should be permitted to withdraw.

        Lastly, Movants are permitted to withdraw as counsel under the employment

 agreement signed by Plaintiff, which includes the following pertinent language:

        Discontinuing the Representation/Withdrawing from the Representation. The
        services of the Firm may be discontinued at any time. However, in a litigated matter, the
        right to obtain successor counsel is subject to court approval. The court may not grant the
        substitution of counsel or agree to delay the proceeding to accommodate the hiring of new
        counsel.

        The Firm reserves the right to withdraw from this representation if invoices are not paid on
        a timely basis or there has been a breakdown of the attorney-client relationship.

        Discontinuing the representation does not affect the Client’s responsibility to pay for the
        legal services rendered and the costs in incurred up to the date of termination.

     Based on the foregoing, Movants have a contractual right to withdraw as counsel for Plaintiff.

 As set forth above, and to be explained in more detail at the hearing if asked, Movants have

 been unable to reach the Plaintiff despite having tried to contact them via numerous emails and

 telephone calls. Thus, Movants are unable to effectively represent Plaintiff in this action.

 Moreover, as shown above, withdrawal is contractually permitted.




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                                            CONCLUSION

                   For the reasons discussed above, Movants respectfully request the Court

 grant their motion to withdraw as counsel for Plaintiff.



                                                            HASBANI & LIGHT, P.C.

                                                      By:   ________________________
                                                            Danielle Light, Esq.

 Dated: June 16, 2022




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